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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION

CLIFFORD H. STUBBE, et al.,                    )
     Plaintiffs,                               )
                                               )
v.                                             )     CIVIL ACTION 1:22-00339-KD-B
                                               )
PHH MORTGAGE CORPORATION,                      )
     Defendant.                                )

                                            ORDER

       After due and proper consideration of all portions of this file deemed relevant to the issues

raised, and there having been no objections filed, the Recommendation of the Magistrate Judge

made under 28 U.S.C. § 636(b)(1)(B) and dated September 21, 2022 (Doc. 6), is ADOPTED as

the opinion of this Court.

       Accordingly, it is ORDERED that Plaintiffs’ motion for summary judgment (Doc. 5) is

premature and so is DENIED without prejudice to his ability to refile a motion for summary

judgment at an appropriate time after resolution of Defendant’s pending motion to dismiss (Doc.

3) and after the parties have had an adequate period within which to conduct discovery.

       DONE and ORDERED this the 9th day of November 2022.

                                             /s/ Kristi K. DuBose
                                             KRISTI K. DuBOSE
                                             UNITED STATES DISTRICT JUDGE
